Case 3:19-cv-07270-WHA Document 395-10 Filed 02/11/22 Page 1 of 2




            Exhibit 9
Case 3:19-cv-07270-WHA Document 395-10 Filed 02/11/22 Page 2 of 2




      Campaign Manager Requirements



           Timing and Approvals


                                  Campaigns must be submitted by
                                       NOON on Tuesday's

                             SMS Hours: 8am-4pm local time
                               Monday— Saturday only



                     Campaigns on Tuesday's:
            Campaigns require Legal, Customer Care, Web and
               Marketing's approval prior to deployment.




                                                                            23




                                                                   CRICKET00798327
